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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

ANTHONY GIBBS,

               Petitioner,

       v.                                           CASE NO. 2:06-cv-00038
                                                    CRIM. NO. 2:95-cr-044(21)
                                                    JUDGE SMITH
UNITED STATES OF AMERICA,                           MAGISTRATE JUDGE KEMP

               Respondent.



                                   OPINION AND ORDER

      On January 26, 2006, the Magistrate Judge issued a Report and Recommendation pursuant

to Rule 4 of the Rules Governing Section 2255 Proceedings recommending that the instant motion

to vacate, set aside, or correct sentence pursuant to 29 U.S.C. §2255 be dismissed as untimely.

       Although the parties were specifically informed of their right to object to the Report and

Recommendation, and of the consequences of their failure to do so, there has nevertheless been no

objection to the Report and Recommendation.

       The Report and Recommendation is hereby ADOPTED AND AFFIRMED. This instant

§2255 petition is hereby DISMISSED.

       IT IS SO ORDERED.

                                                                 \s\ George C. Smith
                                                                  GEORGE C. SMITH
                                                                United States District Judge
